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                   United States Court of Appeals
                               FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1089                                                   September Term, 2023
                                                                      EPA-HQ-OPPT-2018-0421
                                                     Filed On: December 1, 2023 [2029523]
Vinyl Institute, Inc.,

                Petitioner

       v.

Environmental Protection Agency,

                Respondent

       BEFORE:           Circuit Judges Henderson, Walker, and Pan


                     COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Friday, December 1, 2023 at
9:34 a.m. The cause was heard as case No. 3 of 3 and argued before the Court by:

      Eric Gotting, counsel for Petitioner.
      Laura J. Brown (DOJ), counsel for Respondent.


                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                    BY:     /s/
                                                            Anne A. Rothenberger
                                                            Deputy Clerk
